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                    Deposition Transcripts
Order                     Deponent

1                         Mark Brown

2                         Diane Auer Jones

3                         James Manning

4                         Colleen Nevin




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        Interrogatory Responses & Related Documents
Order                         Document

1                             Supplemental Interrogatory Responses

2                             Interrogatory 17-18: How to Review a Borrower Allegation in a
                              One-off or Small Batch Application

3                             Interrogatory 17-18: ITT Memo, April 2020

4                             Interrogatory 17-18: ITT Program Cost Memo, May 2020


5                             Interrogatory 17-18: ITT Educational Services Memo, May 2020


6                             Interrogatory 17-18 Evidence Considered Memo




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                           Bates Stamped Documents
         Documents appear in this order, with Bates-Numbered Slip-Sheets Between them. The
              documents are cited by Bates Number in the Supplemental Complaint.


Order            Bates Range                         Document Title / Identifier

   1.            DOE00000196-DOE0000213              Everest/Wyotech Transfer of Credits Memo

   2.            DOE00000584-DOE0000603              Borrower Defense to Repayment Claims Evaluation


   3.            DOE00002144-DOE00002147             "Manning Memo"

   4.            DOE00002342                         Submissions by Attorneys General Seeking Relief
                                                     for Constituents

   5.            DOE00002528-DOE00002529             Charlotte School of Law Memo

   6.            DOE00002653                         School Notice Letters and Other Open Items

   7.            DOE00003427-                        Next Gen FSA Key Actions
   8.            DOE00004316-DOE00004320             Summary of Information Requested by Diane
                                                     Regarding Loan Discharges Pursuant to 2016
                                                     Regulation



   9.            DOE00004321-DOE00004322             Borrower Defense – Summary of Notice to Schools
                                                     Process

   10.           DOE00004939-4940                    Capella School Notice Letter

   11.           DOE00006016-6022                    Borrower Defense Unit Claims Review Protocol

   12.           DOE00006206-DOE00006508             Training Binder – Borrower Defense To Repayment

   13.           DOE00006893-DOE0006895              Bd Work Plan For November 2019

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   14.        DOE00006974                         FSA FY 2020 A-123A Assessment

   15.        DOE00007209-DOE00007214             Detailed Briefing: Borrower Defense and 2016 Rule
                                                  – Corinthian Colleges and ITT Technical Institute

   16.        DOE00007269-DOE00007271             Talking Points – Institutional Accountability
                                                  Regulations

   17.        DOE00007289-DOE00007291             Talking points – Borrower Defense to Repayment

   18.        DOE00007866-DOE00007879             CCI guaranteed employment memo

   19.        DOE00008693-DOE00008694             Borrower Defense Claim Review Productivity
                                                  Requirements, Incentives and Support Plan


   20.        DOE00008841-DOE00008843             Borrower Defense Quality Control Procedures

   21.        DOE00009291                         “Approval Rates” Memo
   22.        DOE00009378-DOE00009379             DeVry School Notice letter

   23.        DOE00009380-DOE00009382             Ashford School Notice Letter

   24.        DOE00009383-DOE00009385             Infilaw School Notice Letter

   25.        DOE00009386-DOE00009388             University of Phoenix School Notice Letter

   26.        DOE00009399-DOE00009412             ITT Guaranteed Employment Memo

   27.        DOE00009509-DOE00009518             Borrower Defense Presentation

   28.        DOE00009519-DOE00009520             Anthem Education Group Memo

   29.        DOE00009550-DOE00009551             CEC Memo With December 2020 Update

   30.        DOE00009552-DOE00009553             CEC Memo

   31.        DOE00009583                         DeVry Memo
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   32.        DOE00009585                         Keller Memo
   33.        DOE00009626-DOE00009630             EDMC Memo

   34.        DOE00010045-DOE00010049             Beckfield College Memo

   35.        DOE00010089-DOE00010093             Berkeley College Memo

   36.        DOE00010201-DOE00010205             Brookline College Memo

   37.        DOE00010297-DOE00010298             Business Industrial Resources Memo

   38.        DOE00010339-DOE00010340             Career Institute of Health and Technology

   39.        DOE00010341-DOE00010345             Career Point College Memo

   40.        DOE00010364-DOE00010367             Carrington College Memo

   41.        DOE00010368-DOE00010371             Carrington College Memo

   42.        DOE00010571-DOE00010572             Concorde Career Institute Memo

   43.        DOE00010573-DOE00010575             Concorde Career Institute Memo

   44.        DOE00010647-DOE00010649             Davenport Memo

   45.        DOE00010738-DOE00010740             Eagle Gate College Memo

   46.        DOE00010783-DOE00010791             Empire Beauty School Memo

   47.        DOE00010792-DOE00010794             Empire Beauty School Memo

   48.        DOE00010795-DOE00010796             Empire Beauty School Memo

   49.        DOE00010818-DOE00010825             Everglades University Memo

   50.        DOE00010834                         Everglades University Memo



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   51.        DOE00010870                         Florida Career College Memo

   52.        DOE00010871-DOE00010874             Florida Career College Memo

   53.        DOE00010957                         Galiano Career Academy Memo

   54.        DOE00010963-DOE00010966             Galiano Career Academy Memo

   55.        DOE00011006-DOE00011008             Grantham Memo

   56.        DOE00011207-DOE00011209             Institute for Business & Technology Memo

   57.        DOE00011254                         Iverson Institute Memo
   58.        DOE00011259-DOE00011263             Iverson Institute Memo

   59.        DOE00011330                         Keller Memo
   60.        DOE00011331-DOE00011340             Keller Memo

   61.        DOE00011396-DOE00011403             Lacy Cosmetology School Memo

   62.        DOE00011421                         Lawton School Memo
   63.        DOE00011426-DOE00011429             Lawton School Memo

   64.        DOE00011569-DOE00011570             Masters of Cosmetology Memo

   65.        DOE00011572-DOE00011574             Mattia College Memo

   66.        DOE00011608-DOE00011609             Meridian University Memo

   67.        DOE00011644-DOE00011647             Micropower Career Institute Memo

   68.        DOE00011707-DOE00011711             Missouri Technical School Memo

   69.        DOE00011746-DOE00011752             Morris Brown College Memo

   70.        DOE00011761-DOE00011765             Mountain State Univ. Memo



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   71.        DOE00011953-DOE00011956             Ohio Media School Memo

   72.        DOE00012087-DOE00012088             Pinnacle Career Institute Memo

   73.        DOE00012245-DOE00012248             Remington College Memo

   74.        DOE00012388-DOE00012389             San Diego College Memo

   75.        DOE00012560-DOE00012561             Southwest Memo

   76.        DOE00012629-DOE00012633             Stenotype Institute of Jacksonville Memo

   77.        DOE00012658                         Strayer Memo
   78.        DOE00012664-DOE00012668             Strayer Memo

   79.        DOE00012673-DOE000012675            Suburban Technical School Memo

   80.        DOE00012822-DOE00012824             Touro College memo

   81.        DOE00012862-DOE00012863             Unitech Training Academy Memo

   82.        DOE00012873-DOE00012877             Universal Technical Institute Memo

   83.        DOE00013647-DOE00013656             Decision Memo: Tiered Relief Methodology

   84.        DOE00013704-DOE00013707             Heald UCL Memo

   85.        DOE00013708-DOE00013725             Heald Transfer of Credits Memo




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                  “Other” Document Types Cited
Order            Document Name                     Link (if applicable)

1                Transcript from October 1,        n/a
                 2020 Hearing in Sweet v.
                 Cardona (related to ECF No.
                 141, the zoom chat transcript).
2                Order re: Preliminary             n/a
                 Injunction, Calvillo Manriquez
                 v. DeVos, Case No. 3:17-cv-
                 07210 (ND. Cal., May 25,
                 2018, ECF No. 60).
3                Premier Education group           n/a
                 Litigation: Complaint, United
                 States v. Premier Education
                 Group (2016 WL 2747195)
4                Premier Education group           n/a
                 Litigation: ECF No. 222
5                Premier Education group           n/a
                 Litigation: ECF No. 224
6                Premier Education group           n/a
                 Litigation: ECF No. 229
7                Premier Education group           https://www.masslive.com/news/2019/07/a
                 Litigation: Jeanette DeForge,     ttorney-general-agreement-to-shut-down-5-
                 Agreement with AG Forces          colleges-statewide-cancel-students-
                 Premier Education Group Out       debt.html
                 of Massachusetts; Salter
                 College, Others, to Forgive
                 $1.6M in Student Debt
8                Borrower Defense to               https://studentaid.gov/sites/default/files/BD
                 Repayment Application –           -General-Application-Form.pdf
                 OMB No. 1845-0163
9                Borrower Defense to               https://studentaid.gov/sites/default/files/bor
                 Repayment Application –           rower-defense-application.pdf
                 OMB No. 1845-0146
10               Career Education Corporation,     https://www.ftc.gov/system/files/document
                 FTC Complaint, Case No.           s/cases/career_education_corporation_com
                 1.19-cv-05739, N.D. Ill., ECF     plaint_8-27-19.pdf
                 No. 1.

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Order            Document Name                   Link (if applicable)

11               Career Education Corporation,   https://www.ftc.gov/system/files/document
                 FTC Settlement, Case No.        s/cases/de_11_-
                 1.19-cv-05739, N.D. Ill., ECF   _stipulated_order_for_permanent_injunctio
                 No. 11.                         n.pdf
12               Career Education Corporation,   https://www.texasattorneygeneral.gov/sites
                 Assurance of Voluntary          /default/files/images/admin/2019/Press/FI
                 Compliance, Case No. D-1-       NAL%20CEC%20AVC%20attached%20t
                 GN-19-000017                    o%20Petition%20wCauseNo.pdf
13               Kevin Carey, "Corinthian        https://www.nytimes.com/2014/07/03/upsh
                 College Is Closing. Its         ot/corinthian-colleges-is-closing-its-
                 Students May Be Better Off as   students-may-be-better-off-as-a-
                 a Result"                       result.html?_r=0
14               Federal Student Aid, Fiscal     https://www2.ed.gov/about/reports/annual/
                 Year 2020 Annual Report         2020report/fsa-report.pdf?source=email
Not Attached.    Borrower Defense to             https://studentaid.gov/data-
Use Live Link.   Repayment Loan Forgiveness      center/student/loan-forgiveness/borrower-
                 Data                            defense-data




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               Docket Entries from Sweet v. Cardona
 Please note: These documents are not attached, but gathered here in this table for reference
                   because they are cited in the Supplemental Complaint.

Document Title/Identifier                                                      ECF Number

Complaint                                                                      1
Defs.’ Opp. to Plaintiffs’ Motion for Class Cert., ECF No. 38                  38

Class Certification Order, ECF No. 46                                          46

Nevin Dec., ECF No. 56-4                                                       56-4

Defendants' Motion for Summary Judgement, ECF No. 63                           63

Brown Dec., ECF No. 71-3.                                                      71-3

Plaintiffs' Motion for Case Management Conf., ECF No. 108                      108

Jacobson Aff., ECF No. 108-11                                                  108-11

Connor Dec. in Support of Motion for Case Management Conf., ECF No. 108-2      108-2

Wright Aff., ECF No. 108-3                                                     108-3

Deegan Aff., ECF No. 108-8.                                                    108-8

Defs.' Resp. to Aug.31, 2020 Order, ECF No. 116, with Exhibits A-D attached    116

Sweet Affidavit (Exhibit 3 to Connor Dec., ECF No. 129-1)                      129-1

Defs.' Opp. to Mot. to Enforce, ECF No. 140                                    140

Brown Dec., ECF No. 140-1                                                      140-1

Zoom "chat" transcript, ECF No. 141                                            141
Defs.’ List of Schools, Attachment to Filing in Response to Judge’s Inquiry,   145-2
ECF No. 145-2
Discovery Order, ECF No. 146                                                   146


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Defs.’ Response to Order to Show Cause, ECF No. 150                  150

Brown Declaration, ECF 150-1                                         150-1

DePaul Aff., ECF No. 151                                             151

Lezan Aff., ECF No. 155                                              155

Norton Aff., ECF No. 159                                             159




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